Case 2:04-cr-20044-.]DB Document 17 Filed 05/31/05 Page 1 of 2 Page|D 19

IN THE UNITED STATES DISTRICT COURT H”m`"
FOR THE wESTERN DISTRICT oF TENNESSEE cr
wESTERN DIVISION *#*

 

 

UNITED STATES OF AMERICA, *
Plaintiff, *
V. * CR. NO. 04-20044 B
JIMMY W. HART, *
Defendant. *
ORDER

 

CONSIDERING THE FOREGOING Unopposed MOtiOn to Continue, a
Continuance cf the Supervised Release Hearing in the above

Captioned matter V/ IS IS NOT Granted and it is hereby re

get to the §j!ii day Of \jMAnjl , 2005 at ZZOC

a.m47gj5;
. §§
THUS ordered thls £lL, day Of F 131 , 2005 at

Memphis, Tenneseee.

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UNITED STATES JUDGE

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Honorable J. Breen
US DISTRICT COURT

